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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

LINDA SUE SEXTON, et al.,

               Plaintiffs,

vs.                                                   Case No. 19-cv-12574
                                                      HON. MARK A. GOLDSMITH
THOMAS CERNUTO, et al.,

            Defendants.
_________________________________/

                   ORDER REGARDING CERTIFICATION REQUIREMENTS

       The Court has detailed certification requirements that counsel must follow. For motions,
moving counsel must certify that the concurrence requirement set forth in Local Rule 7.1(a) has
been met. The necessary certification language can be found in Judge Goldsmith's practice
guidelines, which are available on the Eastern District of Michigan website.

       For any motions, responses, replies, supplemental briefs, or other documents filed on the
docket, the Court requires filing counsel to include the following certification language:

               "LOCAL RULE CERTIFICATION: I, [counsel's name], certify that this
       document complies with Local Rule 5.1(a), including: double-spaced (except for
       quoted materials and footnotes); at least one-inch margins on the top, sides, and
       bottom; consecutive page numbering; and type size of all text and footnotes that is
       no smaller than 10-1/2 characters per inch (for non-proportional fonts) or 14 point
       (for proportional fonts). I also certify that it is the appropriate length. Local Rule
       7.1(d)(3)."

        Failure to include the necessary certification(s) will result in the filed document being
stricken.

       SO ORDERED.

Dated: September 13, 2019                     s/Mark A. Goldsmith
Detroit, Michigan                             MARK A. GOLDSMITH
                                              United States District Judge

                                    CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and any
unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
addresses disclosed on the Notice of Electronic Filing on September 13, 2019.
                                                 s/Karri Sandusky
                                                 Case Manager
